USCA Case #25-5152               Document #2122386            Filed: 06/26/2025      Page 1 of 1


                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 25-5152                                                     September Term, 2024
                                                                            1:25-cv-00943-TNM
                                                       Filed On: June 26, 2025 [2122386]
Coalition for Humane Immigrant Rights, et
al.,

                   Appellants

         v.

United States Department of Homeland
Security, et al.,

                   Appellees


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Consolidated with 25-5233

                                             ORDER

         It is ORDERED, on the court's own motion, that these cases be consolidated.

                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Elbert B.J. Lestrade
                                                              Deputy Clerk
